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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN


    FAIR HOUSING CENTER OF METROPOLITAN
    DETROIT and DAR’SHA L. Hardy,

                           Plaintiffs,

    IRON STREET PROPERTIES, LLC,
    d/b/a RIVER PARK LOFTS, BOYDELL
    DEVELOOPMENT, INC. and DENNIS
    KEFALLINOS,

                           Defendants.                      Case No. 2:16-cv-12140-GCS-MKM
                                                            HON. George Caram Steeh
    _____________________________________/

                                  NOTICE OF APPEARANCE

    To the Clerk of this Court and all parties of record:

           I hereby enter my appearance as counsel in this case for Attorney Stephen A.

    Thomas, Esq., in his pending Attorney Fee Dispute.




    Date: 11/20/2018________


                                                  /s/ Paul Andrew Kettunen____________
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